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 Debtors-in-Possession                                         Debtors-in-Possession


                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

 IN RE:                                                        §            CHAPTER 11
                                                               §
 NATIONAL RIFLE ASSOCIATION OF                                 §            CASE NO. 21-30085-hdh11
 AMERICA and SEA GIRT LLC,                                     §
                                                               §
            DEBTORS1                                           §            Jointly Administered
                                                               §

               DEBTORS’ AMENDED WITNESS AND EXHIBIT LIST FOR HEARING
                         TO BE HELD COMMENCING APRIL 5, 2021


            The National Rifle Association of America and Sea Girt LLC (the “Debtors”) may call

 the following witnesses and introduce the following exhibits in connection with the following

 pleadings scheduled to be heard commencing April 5, 2021 at 10:30 a.m. in the above-captioned

 proceeding (the “Hearing”):

                       a.       Motion for Appointment of an Examiner filed by Phillip Journey
                                [Docket No. 114];

                       b.       Ackerman McQueen, Inc.’s Motion to Dismiss the Chapter 11
                                Bankruptcy Petition, or, in the Alternative, Motion for the

 1
     The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (Association) and 5681 (Sea Girt).


 DEBTORS’ AMENDED WITNESS AND EXHIBIT LIST FOR HEARING TO BE HELD                                               1 of 4
 COMMENCING ON APRIL 5, 2021
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                          Appointment of a Chapter 11 Trustee [Docket No. 131];

                  c.      The State of New York’s Motion to Dismiss, or, in the Alternative, to
                          Appoint a Chapter 11 Trustee [Docket No. 155];

                  d.      The District of Columbia’s Motion in Support in the State of New
                          York’s Motion to Appoint Chapter 11 Trustee [Docket No. 214].

                                             I. WITNESSES

       1.        The Debtors reserve the right to call the following individuals as witnesses at

  the Hearing:

                  a.      Megan Allen

                  b.      Andrew Arulanandam

                  c.      J. Kenneth Blackwell

                  d.      John Commerford

                  e.      Charles Cotton

                  f.      David Coy

                  g.      Michael Erstling

                  h.      John Frazer

                  i.      Sandy Froman

                  j.      Doug Hamlin

                  k.      Tom King

                  l.      Letitia James

                  m.      Wayne LaPierre

                  n.      Willes Lee

                  o.      Christine Majors

                  p.      Jason Ouimet

                  q.      Wilson Phillips (by deposition designation)

                  r.      Greg Plotts

                  s.      Louis E. Robichaux IV


 DEBTORS’ AMENDED WITNESS AND EXHIBIT LIST FOR HEARING TO BE HELD ON                         2 of 4
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                    t.    Sonya Rowling

                    u.    Tyler Schropp

                    v.    Craig Spray

                    w.    Gayle Stanford (by deposition designation)

                    x.    Jim Staples

                    y.    Rick Tedrick

                    z.    William Wang, as 30(b)(6) representative of NYAG (by deposition

                          designation)

                    aa.   Any witness(es) identified or called by any other parties;

                    bb.   Any witness(es) necessary to authenticate exhibits designated herein; and

                    cc.   Any witness(es) necessary to rebut and/or impeach the testimony of a

                          witness called or designated by any other party.

                               II.       AMENDED EXHIBIT LIST
        The Debtors reserve the right to introduce the exhibits identified on the exhibit list

 attached hereto as Exhibit “1” at the Hearing.

        The Debtors reserve the right to supplement this Witness and Exhibit List at any time

 prior to the Hearing. The Debtors further reserve the right to use additional exhibits not identified

 herein for purposes of rebuttal or impeachment. The Debtors also reserve the right to rely upon

 and use as evidence: (i) exhibits included on the exhibit list of any other parties in interest, and

 (ii) any pleading, hearing transcript, or other document filed with the Court in the above-

 captioned cases.




 DEBTORS’ AMENDED WITNESS AND EXHIBIT LIST FOR HEARING TO BE HELD ON                          3 of 4
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  Dated: April 16, 2021                      Respectfully submitted,

                                             /s/ Gregory E. Garman
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                                             Douglas J. Buncher, SBN 03342700
                                             John D. Gaither, SBN 24055516
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                                             Counsel for Debtors


 4823-4571-2100, v. 1




 DEBTORS’ AMENDED WITNESS AND EXHIBIT LIST FOR HEARING TO BE HELD ON                 4 of 4
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                             EXHIBIT “1”




                             EXHIBIT “1”
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                                 Supplemental Exhibits List


Exhibit   Exhibit
Prefix    Number    Document Description                      Offered   Objection   Admitted

                    Attendance Records - Compliance
NRA       1         Seminar(s)

                    Attendance Records - Compliance
NRA       2         Seminar(s)

                    Attendance Records - Compliance
NRA       3         Seminar(s)

                    Settlement Agreement Between Lockton
NRA       4         and the NRA

NRA       5         SLC formation related records

NRA       6         SLC formation related records

NRA       7         SLC formation related records

NRA       8         SLC formation related records

NRA       9         SLC formation related records

NRA       10        SLC formation related records

NRA       11        SLC formation related records

NRA       12        SLC formation related records

NRA       13        SLC formation related records

NRA       14        SLC formation related records

NRA       15        BOD meeting minutes September 2018

NRA       16        BOD meeting minutes September 2018

NRA       17        BOD meeting minutes September 2018

NRA       18        BOD meeting minutes January 2019


NRA       19        BOD meeting minutes September 2019




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Exhibit   Exhibit
Prefix    Number    Document Description                        Offered   Objection   Admitted


NRA       20        BOD meeting minutes September 2019

NRA       21        BOD meeting minutes September 2019


NRA       22        BOD meeting minutes January 2020

NRA       23        BOD meeting minutes January 2020

NRA       24        BOD meeting minutes January 2020

NRA       25        BOD meeting minutes January 2021

NRA       26        BOD meeting minutes March 2021

NRA       27        BOD meeting minutes March 2021

NRA       28        Letter from O. North to J. Frazer
                    Email from C. Cooper to S. Hart regarding
                    NRA president to step down as New York
NRA       29        Attorney General investigates

NRA       30        Payment

NRA       31        O. North letter to J. Frazer

NRA       32        M. Hallow typed up notes

NRA       33        M. Hallow written Notes

NRA       34        C. Meadows Notes

                    January 2021 Financial Statements and
NRA       35        Treasurer's Report

                    Email from D. Boren re NRA Lawsuit
NRA       36        against Ackerman McQueen

NRA       37        Memorandum, Morgan Lewis

NRA       38        2018 NRA General Ledger

NRA       39        2019 NRA General Ledger



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Exhibit   Exhibit
Prefix    Number    Document Description                     Offered   Objection   Admitted

NRA       40        2020 NRA General Ledger
                    2009-05-18 Audit Committee Meeting
NRA       41        Minutes

NRA       42        2010-05-17_Audit Cmte Mtg Minutes
                    2011-05-02_Audit Cmte Mtg
NRA       43        Minutes_NYAG-00042490
                    2012-04-16_Audit Cmte Mtg
NRA       44        Minutes_NYAG-00243390
                    2013-05-06_Audit Cmte Mtg
NRA       45        Minutes_NYAG-00243650
                    2014-04-28_Audit Cmte Mtg
NRA       46        Minutes_NYAG-00043536
                    2015-04-13_Audit Cmte Mtg
NRA       47        Minutes_NYAG-00031564
                    2016-05-23_Audit Cmte Mtg
NRA       48        Minutes_NYAG-00038681
                    2017-05-01_Audit Cmte Mtg
NRA       49        Minutes_NYAG-00040577
                    2018-05-07_Audit Cmte Mtg
NRA       50        Minutes_NYAG-00092322

NRA       51        2019-04-29_Audit Cmte Mtg Minutes
                    2012-11-14_McGladrey Engagement
NRA       52        Letter_NYAG-00183821
                    2013-10-29_McGladrey Engagement
NRA       53        Letter_NYAG-00183827
                    2014-10-14_McGladrey Engagement
NRA       54        Letter_NYAG-00183832
                    2015-10-23_McGladrey Engagement
NRA       55        Letter_NYAG-00183837
                    2016-10-12_RSM Engagement
NRA       56        Letter_NYAG-00183843
                    2017-10-23_RSM Engagement
NRA       57        Letter_NYAG-00262828
                    2018-07-25_RSM Engagement
NRA       58        Letter_NYAG-00258468
                    2012-03-07_McGladrey Rpt to the Audit
NRA       59        Cmte_NYAG-00189423
                    2013-03-12_McGladrey Rpt to the Audit
NRA       60        Cmte_NYAG-00193920
                    2014-03-11_McGladrey Rpt to the Audit
NRA       61        Cmte_NYAG-00199696



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Exhibit   Exhibit
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                    2015-03-10_McGladrey Rpt to the Audit
NRA       62        Cmte_NYAG-00204075
                    2016-03-08_RSM Rpt to the Audit
NRA       63        Cmte_NYAG-00208836
                    2017-03-08_RSM Rpt to the Audit
NRA       64        Cmte_NYAG-00212445
                    2018-03-07_RSM Rpt to the Audit
NRA       65        Cmte_NYAG-00217124
                    2019-03-13_RSM Rpt to the Audit
NRA       66        Cmte_NYAG-00268445

NRA       67        2012_CRDF Mgmt Rep Ltr

NRA       68        2012_NRA Consolidated Mgmt Rep Ltr

NRA       69        2012_NRA Unconsolidated Mgmt Rep Ltr

NRA       70        2012_PVF Mgmt Rep Ltr

NRA       71        2012_SCF Mgmt Rep Ltr

NRA       72        2013_FAF Mgmt Rep Ltr

NRA       73        2013_NRA Consolidated Mgmt Rep Ltr

NRA       74        2013_NRA Unconsolidated Mgmt Rep Ltr

NRA       75        2013_PVF Mgmt Rep Ltr

NRA       76        2013_SCF Mgmt Rep Ltr

NRA       77        2014 NRA Consolidated Mgmt Rep Ltr

NRA       78        2014 NRA Unconsolidated Mgmt Rep Ltr_

NRA       79        2015 NRA Consolidated Mgmt Rep Letter
                    2015 NRA Unconsolidated Mgmt Rep
NRA       80        Letter

NRA       81        2016 NRA Consolidated Mgmt Rep Letter
                    2016 NRA Unconsolidated Mgmt Rep
NRA       82        Letter

NRA       83        2017 NRA Consolidated Mgmt Rep Letter



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Exhibit    Exhibit
Prefix     Number    Document Description                      Offered   Objection   Admitted
                     2017 NRA Unconsolidated Mgmt Rep
NRA        84        Letter
                     2018_FAF Mgmt Rep Ltr_NYAG-
NRA        85        00264747
                     2018_NRA Consolidated Mgmt Rep
NRA        86        Ltr_NYAG-00278320

                     2018_NRA Unconsolidated Mgmt Rep
NRA        87        Ltr_NYAG-00278316
                     2018_PVF Mgmt Rep Ltr_NYAG-
NRA        88        00264991

                     NRA AND AFF 2010 2009 Audited
                     Consolidated Financial Statements_NYAG-
NRA        89        00186630

                     NRA AND AFF 2011 2010 Audited
                     Consolidated Financial Statements_NYAG-
NRA        90        00189618

                     NRA AND AFF 2012 2011 Audited
                     Consolidated Financial Statements_NYAG-
NRA        91        00194381

                     NRA AND AFF 2013 2012 Audited
                     Consolidated Financial Statements_NYAG-
NRA        92        00200316

                     NRA AND AFF 2014 2013 Audited
                     Consolidated Financial Statements_NYAG-
NRA        93        00204559

                     NRA AND AFF 2015 2014 Audited
                     Consolidated Financial Statements_NYAG-
NRA        94        00208942

                     NRA AND AFF 2016 2015 Audited
                     Consolidated Financial Statements_NYAG-
NRA        95        00230016

                     NRA AND AFF 2017 2016 Audited
                     Consolidated Financial Statements_NYAG-
NRA        96        00229866

                     NRA AND AFF 2018 2017 Audited
                     Consolidated Financial Statements_NYAG-
NRA        97        00242468




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Exhibit    Exhibit
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                     NRA CRDF 2010 2009 Audited Financial
NRA        98        Statements_NYAG-00186559

                     NRA CRDF 2011 2010 Audited Financial
NRA        99        Statements_NYAG-00189552

                     NRA CRDF 2012 2011 Audited Financial
NRA        100       Statements_NYAG-00197070
                     NRA CRDF 2013 2012 Audited Financial
NRA        101       Statements

                     NRA CRDF 2014 2013 Audited Financial
NRA        102       Statements_NYAG-00204394

                     NRA CRDF 2015 2014 Audited Financial
NRA        103       Statements_NYAG-00208874
                     NRA CRDF 2016 2015 Not Signed
NRA        104       Financial Statements
                     NRA CRDF 2017 2016 Audited Financial
NRA        105       Statements

                     NRA CRDF 2017 Annual Report_NYAG-
NRA        106       00250639


                     NRA CRDF 2018 2017 Audited Financial
NRA        107       Statements_NYAG-00241260


                     NRA CRDF 2018 Annual Report_NYAG-
NRA        108       00265350
                     Wire Confirmation - Payment by M.
NRA        109       Hallow (Wells Fargo)

                     NRA FAF 2010 2009 Audited Financial
NRA        110       Statements_NYAG-00186592


                     NRA FAF 2011 2010 Audited Financial
NRA        111       Statements_NYAG-00189544

                     NRA FAF 2012 2011 Audited Financial
NRA        112       Statements_NYAG-00194460

                     NRA FAF 2013 2012 Audited Financial
NRA        113       Statements_NYAG-00200303



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Exhibit    Exhibit
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                     NRA FAF 2014 2013 Audited Financial
NRA        114       Statements_NYAG-00204460
                     NRA FAF 2015 2014 Audited Financial
NRA        115       Statements

                     NRA FAF 2016 2015 Audited Financial
NRA        116       Statements_NYAG-00253230

                     NRA FAF 2017 2016 Audited Financial
NRA        117       Statements_NYAG-00232966

                     NRA FAF 2017 Annual Report_NYAG-
NRA        118       00273421


                     NRA FAF 2018 2017 Audited Financial
NRA        119       Statements_NYAG-00232415

                     NRA 2010 2009 Audited Financial
NRA        120       Statements_NYAG-00186606

                     NRA 2011 2010 Audited Financial
NRA        121       Statements_NYAG-00189513

                     NRA 2012 2011 Audited Financial
NRA        122       Statements_NYAG-00194306
                     NRA 2013 2012 Audited Financial
NRA        123       Statements

                     NRA 2014 2013 Audited Financial
NRA        124       Statements_NYAG-00204470


                     NRA 2015 2014 Audited Financial
NRA        125       Statements_NYAG-00208902

                     NRA 2016 2015 Audited Financial
NRA        126       Statements_NYAG-00229990

                     NRA 2017 2016 Audited Financial
NRA        127       Statements_NYAG-00228950

                     NRA 2018 2017 Audited Financial
NRA        128       Statements_NYAG-00264156

                     NRA FOUNDATION 2010 2009 Audited
NRA        129       Financial Statements_NYAG-00186575


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Exhibit    Exhibit
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                     NRA FOUNDATION 2011 2010 Audited
NRA        130       Financial Statements_NYAG-00189600

                     NRA FOUNDATION 2012 2011 Audited
NRA        131       Financial Statements_NYAG-00197052
                     NRA FOUNDATION 2013 2012 Audited
NRA        132       Financial Statements

                     NRA FOUNDATION 2014 2013 Audited
NRA        133       Financial Statements_NYAG-002047379

                     NRA FOUNDATION 2015 2014 Audited
NRA        134       Financial Statements_NYAG-00208887

                     NRA FOUNDATION 2017 Annual
NRA        135       Report_NYAG-00273435

                     NRA FOUNDATION 2018 2017 Audited
NRA        136       Financial Statements_NYAG-00264059

                     NRA FOUNDATION 2018 Annual
NRA        137       Report_NYAG-00265408

                     NRA PVF 2010 2009 Audited Financial
NRA        138       Statements_NYAG-00186600


                     NRA PVF 2011 2010 Audited Financial
NRA        139       Statements_NYAG-00189538

                     NRA PVF 2012 2011 Audited Financial
NRA        140       Statements_NYAG-00194373

                     NRA PVF 2014 2013 Audited Financial
NRA        141       Statements_NYAG-00204500


                     NRA PVF 2015 2014 Audited Financial
NRA        142       Statements_NYAG-00209139

                     NRA PVF 2016 2015 Audited Financial
NRA        143       Statements_NYAG-00213210

                     NRA PVF 2018 2017 Audited Financial
NRA        144       Statements_NYAG-00242780




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Exhibit    Exhibit
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                     NRA SCF 2011 2010 Audited Financial
NRA        145       Statements_NYAG-00189702

                     NRA SCF 2012 2011 Audited Financial
NRA        146       Statements_NYAG-00194428

                     NRA SCF 2013 2012 Audited Financial
NRA        147       Statements_NYAG-00200281

                     NRA SCF 2014 2013 Audited Financial
NRA        148       Statements_NYAG-00204608

                     NRA SCF 2015 2014 Audited Financial
NRA        149       Statements_NYAG-00208925

                     NRA SCF 2016 2015 Audited Financial
NRA        150       Statements_NYAG-00229928

                     NRA SCF 2017 2016 Audited Financial
NRA        151       Statements_NYAG-00232316

                     NRA SCF 2018 2017 Audited Financial
NRA        152       Statements_NYAG-00269557

                     NRA SCF 2018 Annual Report_NYAG-
NRA        153       00243097

NRA        154       March 2020 Mgmt Letter

                     Email from S. Rowling to G. Plotts re
NRA        155       Aronson RFP
                     Email from Plotts to R. Tedrick re letter to
NRA        156       prior auditors

                     Email chain between Aronson and others re
NRA        157       selections to review

                     Email chain between Aronson and others re
NRA        158       upcoming audit

                     Email from Aronson to St. Onge re
                     selecting more cash disbursements for
NRA        159       review re SCF

                     Email from Aronson re doing additional
NRA        160       testing on 12/31/18 YE balances


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                     Email from Cuddapah to Tedrick and
NRA        161       Rowling re backup request for 990s

                     Email from Cuddapah to Tedrick and St.
NRA        162       Onge re SCF 990 review notes

                     Email from Cuddapah to Tedrick and St.
NRA        163       Onge re SCF 990 review notes

                     Email from Cuddapah to Tedrick and
NRA        164       Rowling re 990 comments
                     Email from Tracey to Majors attaching
                     Aronson Engagement Letter re Idaho State
NRA        165       Gaming.

                     Oct 2020, Aronson Presentation to the
NRA        166       Audit Cmte

                     Email chain between Cuddapah and
                     Tedrick re 990 presentation to the Audit
NRA        167       Cmte.

                     Email chain between Tedrick, Rowling and
NRA        168       Aronson re Form 8453-EO

                     Email chain between Tedrick, Rowling and
                     Aronson re From 4720 for preparing an
NRA        169       amended return

                     Email chain between Tedrick Rowling and
NRA        170       Aronson re NRA 990-T.

                     Email from Cuddapah to Tedrick and
NRA        171       Rowling re NRA 990

                     October 2020 Aronson engagement letter re
NRA        172       audit of NRA and Affiliates

                     Email from Tedrick to Plotts requesting
NRA        173       RFP from Aronson

                     Letter from Spray to Plotts with attached
NRA        174       RFP

                     Email chain re ASU 2018-08 FASB
NRA        175       guidance re Not-for-profit entities



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Exhibit    Exhibit
Prefix     Number    Document Description                          Offered   Objection   Admitted

                     Email from Aronson to NRA re March
NRA        176       2020 Audit Cmte presentation
                     Final Aronson Presentation for March 2020
NRA        177       Audit Cmte meeting

                     Email from Aronson to Spray etal attaching
NRA        178       final March 2020 Audit Cmte Presentation

                     Email from Spanbauer to Spray and Owens
                     attaching draft mgmt rep letters for PVF
NRA        179       and FAF.
                     Draft management representation letter for
NRA        180       FAF

                     Draft management presentation letter for
NRA        181       PVF

                     Aronson Engagement Letter re Idaho State
NRA        182       Gaming Commission (NRAF)

NRA        183       Aronson Engagement Letter (11/21/19)

NRA        184       Aronson Engagement Letter (10/26/20)

                     Audited Financial Statements - Political
NRA        185       Victory Fund
                     Audited Financial Statements - Special
NRA        186       Contribution Fund

                     Audited Financial Statements - Civil Rights
NRA        187       Defense Fund
                     Email from Plotts to Tedrick attaching
NRA        188       Aronson's RFP
                     Aronson Proposal to the NRA for Audit
NRA        189       and Tax services
                     Jan 2020 Aronson engagement letter re tax
NRA        190       form 1042
                     June 2020 Aronson engagement letter re
NRA        191       401k plan
                     June 2020 Aronson engagement letter re
NRA        192       Employee Retirement Plan
                     Oct 2020 Aronson Engagement Letter re
NRA        193       audit of NRA and Affiliates

NRA        194       Audit Opinion - NRA & Affiliates



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Exhibit    Exhibit
Prefix     Number    Document Description                       Offered   Objection   Admitted
                     Audit Opinion - National Rifle Association
NRA        195       of America
                     Audit Opinion - The NRA Poltical Victory
NRA        196       Fund
                     Audit Opinion - The NRA Freedom Action
NRA        197       Foundation

NRA        198       Audit Opinion - Civil Rights Defense Fund

NRA        199       Management Letter - NRA & Affiliates

NRA        200       Governance Letter - NRA & Affiliates
                     Management Letter - NRA Civil Rights
NRA        201       Defense Fund
                     Management Letter - NRA Freedom Action
NRA        202       Foundation
                     Management Letter- The NRA Foundation,
NRA        203       Inc.
                     Management Letter - NRA Political
NRA        204       Victory Fund

NRA        205       Draft Management Letters

NRA        206       Management Representation Letter - NRA
                     Management Representation Letter - Civil
NRA        207       Rights Defense Fund
                     Management Representation Letter -
NRA        208       Special Contribution Fund
                     Management Representation Letter - NRA
NRA        209       Foundation, Inc.
                     Management Representation Letter - NRA
NRA        210       & Affiliates
                     Contract Review Sheet and Business Case
                     Analysis re Aronson Audit and Tax
NRA        211       Services
                     2019 Audited Financial Statements -
NRA        212       Special Contribution Fund

                     Gift Detail and Summary Report Current
NRA        213       WLF Members Giving 2016

                     Gift Detail and Summary Report Current
NRA        214       WLF Members Giving 2014

                     Gift Detail and Summary Report Current
NRA        215       WLF Members Giving 2017



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Exhibit    Exhibit
Prefix     Number    Document Description                        Offered   Objection   Admitted

                     Gift Detail and Summary Report Current
NRA        216       WLF Members Giving 2018

                     Gift Detail and Summary Report Current
NRA        217       WLF Members Giving 2015

                     Gift Detail and Summary Report Current
                     WLF Members Giving 2019 as of 2019-06-
NRA        218       10
                     Gift Detail and Summary Report Current
NRA        219       WLF Members Giving 2013

                     Email from John Frazer to Board including
                     letter from Carolyn Meadows regarding
NRA        220       appointment of SLC.


NRA        221       February 2021 org chart


NRA        222       2021 NRA employee handbook.
                     WLF fundraising document with stats from
NRA        223       2013-2018

NRA        224       2016 OOP

NRA        225       2017 OOP

NRA        226       2018 OOP

                     February 8, 2021 email message from NRA
                     President to NRA Board (trasmitted by
                     NRA Secretary) - Regarding Judge
NRA        227       Journey's Motion for an Examiner

                     Arulanandam email to Montgomerry re:
NRA        228       NRATV 5/31/2019

                     March 28, 2021 NRA Board Resolution re
NRA        229       Chapter 11
                     Bloomberg: “Former NRA Director Seeks
                     Examiner Probe for Bankruptcy Case,”
NRA        230       February 8, 2021
                     Law360: “NRA Board Member Calls For
                     Examiner In Ch. 11 Case,” February 8,
NRA        231       2021


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Exhibit    Exhibit
Prefix     Number    Document Description                          Offered   Objection   Admitted
                     The Wall Street Journal: “NRA Director
                     Seeks Examiner to Probe Alleged Financial
NRA        232       Abuses at Gun Group,” February 8, 2021
                     The Wichita Eagle: “NRA board member
                     Phil Journey seeks probe of NRA officials,”
NRA        233       February 8, 2021
                     Associated Press: “Independent Examiner
                     Sought in NRA Mismanagement
NRA        234       Allegations,” February 9, 2021
                     Westlaw: “NRA board member seeks
NRA        235       management probe,” February 10, 2021
                     The Wall Street Journal Bankruptcy Pro:
                     “NRA’s Longtime Ad Agency Seeks to
                     Dismiss Gun Rights Group’s Bankruptcy
NRA        236       Case,” February 10, 2021
                     ABC News: “NRA is ‘out of ammo’ as it
                     faces a legal mess of its own making, many
NRA        237       experts say,” February 22, 2021

NRA        238       Gun Talk Radio, February 23, 2021
                     The Washington Free Beacon: “NRA
                     Board to Hold Emergency Hearing Amid
NRA        239       Bankruptcy Turmoil,” March 9, 2021
                     The Washington Post: “NRA Faces Internal
                     Woes As It Girds For New Gun Control
NRA        240       Fight,” March 26, 2021
                     The Trace: “To Escape A Legal Reckoning,
                     The NRA Went Shopping For A Friendlier
NRA        241       State,” March 27, 2021

                     The Washington Free Beacon: “NRA
                     Board Retroactively Approves Bankruptcy
NRA        242       Plan as Trial Approaches,” March 29, 2021
                     The Washington Post: “NRA Faces Internal
                     Woes As It Girds For New Gun Control
NRA        243       Fight,” March 26, 2021
                     The Trace: “To Escape A Legal Reckoning,
                     The NRA Went Shopping For A Friendlier
NRA        244       State,” March 27, 2021

                     The Washington Free Beacon: “NRA
                     Board Retroactively Approves Bankruptcy
NRA        245       Plan as Trial Approaches,” March 29, 2021
                     Bloomberg: “NRA Board Member Upends
                     Bankruptcy With Demand to Probe Wayne
NRA        246       LaPierre,” March 30, 2021



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Exhibit    Exhibit
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                     Westlaw: “NRA director can testify about
                     board's Chapter 11 talks at trial, judge
NRA        247       says,” March 31, 2021
                     The New York Times: “Incendiary N.R.A.
                     Videos Fin New Critics: N.R.A. Leaders,”
NRA        248       March 11, 2019
                     The New York Times: “N.R.A. Shuts
                     Down Production of NRATV, and Its No. 2
NRA        249       Official Resigns,” June 25, 2019
                     Article: "Tish James Announces Attorney
                     General Platform to Protect New Yorkers
NRA        250       from Gun Violence," July 12, 2018
                     Our Time Article: "Attorney General
                     Candidate, Pubic Advocate Letitia James,"
NRA        251       September 6, 2018
                     Article: Letitia James Becoming New
NRA        252       York's Next Attorney General

NRA        253       Video: Letitia James News12 Interview

NRA        254       2019_NRA Unconsolidated Mgmt Rep Ltr

NRA        255       NRATV Presentation Dates Summary

                     2014-2021 Financial Disclosure
NRA        256       Questionnaires
                     M. Montgomery letter to A. Arulanandam
NRA        257       Letter 5.30.2019

NRA        258       Board Resolution (3.28)

NRA        259       September 2016 Board Meeting Minutes

NRA        260       Hallow typed Notes from Boren Call

NRA        261       Meadows Notes from North Call

NRA        262       Hallow Handwritten Notes from Boren Call

NRA        263       Boren texts to C. Cox and E. Martin

NRA        264       Jan. 2021 Draft Meeting Materials

NRA        265       NRA Board Meeting Minutes

NRA        266       NRA Board Meeting Minutes



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NRA        267       NRA Board Meeting Minutes

NRA        268       NRA Board Meeting Minutes

NRA        269       NRA Board Meeting Minutes

NRA        270       NRA Board Meeting Minutes

NRA        271       NRA Board Meeting Minutes

NRA        272       NRA Board Meeting Minutes

NRA        273       NRA Board Meeting Minutes

NRA        274       NRA Board Meeting Minutes

NRA        275       NRA Board Meeting Minutes

NRA        276       NRA Board Meeting Minutes

NRA        277       NRA Board Meeting Minutes

NRA        278       AMc Services Agreement 04.30.2017

NRA        279       AMc North Contract Amendment No. 1

NRA        280       North Contract 5/15/2018

NRA        281       NRA Board Meeting Minutes

NRA        282       NRA Board Meeting Minutes

NRA        283       NRA Board Meeting Minutes

NRA        284       NRA Board Meeting Minutes

NRA        285       NRA Board Meeting Minutes

NRA        286       NRA Board Meeting Minutes

NRA        287       NRA Board Meeting Minutes

NRA        288       NRA Board Meeting Minutes



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NRA        289       NRA Board Meeting Minutes

NRA        290       NRA Board Meeting Minutes

NRA        291       NRA Board Meeting Minutes
                     Audit Committee Resolution to North
NRA        292       Contract 5/30/2019

NRA        293       Email from Wilson Phillips to Bill Winkler

NRA        294       WBB Investments Invoice

NRA        295       WBB Security Timeline

NRA        296       Letter from John Frazer to Gina Betts

NRA        297       Melanie Montogmery email to Realtor

NRA        298       North Letter re Contract with AMc

                     01.09.2016 NRA Conflict of Interest and
NRA        299       Related Party Transaction Policy


NRA        300       2020 Statement of Corporate Ethics


NRA        301       Jan. 2020 NRA Employee Handbook

NRA        302       03.11.2020 NRA Policy Manual
                     NRA Travel & Business Expense
NRA        303       Reimbursement Policy

NRA        304       2018 Vision Discussion

NRA        305       NRATV analytics Discussion

NRA        306       NRATV Business Objectives

NRA        307       2016 Budget

NRA        308       2017 Budget

NRA        309       2018 Budget



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NRA        310       2019 Budget
                     ILA Wells Fargo Statement ending 2017-02-
NRA        311       28
                     Chris Cox AmEx Statement ending 2018-
NRA        312       01-02
                     Chris Cox AmEx Statement ending 2017-
NRA        313       10-02
                     Records of ILA AmEx Payments for Chris
NRA        314       Cox
                     Chris Cox NRA ILA Expense Report 2016-
NRA        315       12
                     NRATV 2018 YTD: ANALYTICS
NRA        316       EXECUTIVE OVERVIEW

NRA        317       2018 NRATV Analytics Deck

NRA        318       NRATV Metrics Commentators

NRA        319       NRATV Metrics Love at First Shot

NRA        320       Control/Process Improvements Made

NRA        321       Letter to Associated Television Inc

NRA        322       Letter to Ackerman McQueen

NRA        323       Letter to Ackerman McQueen
                     Letter to Concord Social and Public
NRA        324       Relations

NRA        325       Letter to Membership Marketing Partners

NRA        326       Letter to Allegiance Creative Group
                     Letter to Concord Social and Public
NRA        327       Relations

NRA        328       Letter to Membership Marketing Partners

NRA        329       Letter to Allegiance Creative Group

NRA        330       Email attaching letters sent to vendors

NRA        331       Letter to Associated Television



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Exhibit    Exhibit
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NRA        332       Letter to Ackerman McQueen

NRA        333       Letter to Ackerman McQueen
                     Letter to Concord Social and Public
NRA        334       Relations

NRA        335       Letter to Membership Marketing Partners

NRA        336       Letter to Allegiance Creative Group
                     Letter to Concord Social and Public
NRA        337       Relations

NRA        338       Letter to Membership Marketing Partners

NRA        339       Letter to Allegiance Creative Group

NRA        340       Email attaching letters sent to vendors

NRA        341       Letter to Associated Television

NRA        342       Letter to Ackerman McQueen

NRA        343       Letter to Ackerman McQueen
                     Letter to Concord Social and Public
NRA        344       Relations

NRA        345       Letter to Membership Marketing Partners

NRA        346       Letter to Allegiance Creative Group
                     Letter to Concord Social and Public
NRA        347       Relations

NRA        348       Letter to Membership Marketing Partners

NRA        349       Letter to Allegiance Creative Group

NRA        350       Email attaching letters sent to vendors

NRA        351       Letter to Associated Television
                     Miscellaneous blank htm family attachment
NRA        352       email re vendor letters

NRA        353       Letter to Ackerman McQueen



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Exhibit    Exhibit
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                     Miscellaneous blank htm family attachment
NRA        354       email re vendor letters

NRA        355       Letter to Ackerman McQueen
                     Miscellaneous blank htm family attachment
NRA        356       email re vendor letters
                     Letter to Concord Social and Public
NRA        357       Relations
                     Miscellaneous blank htm family attachment
NRA        358       email re vendor letters

NRA        359       Letter to Membership Marketing Partners
                     Miscellaneous blank htm family attachment
NRA        360       email re vendor letters

NRA        361       Letter to Allegiance Creative Group
                     Miscellaneous blank htm family attachment
NRA        362       email re vendor letters
                     Letter to Concord Social and Public
NRA        363       Relations
                     Miscellaneous blank htm family attachment
NRA        364       email re vendor letters

NRA        365       Letter to Membership Marketing Partners
                     Miscellaneous blank htm family attachment
NRA        366       email re vendor letters

NRA        367       Letter to Allegiance Creative Group
                     Miscellaneous blank htm family attachment
NRA        368       email re vendor letters

NRA        369       Email attaching letters sent to vendors

NRA        370       Letter to Allegiance Creative Group

NRA        371       Letter to Ackerman McQueen

NRA        372       Letter to Associated Television
                     Letter to Concord Social and Public
NRA        373       Relations

NRA        374       Letter to Membership Marketing Partners
                     Letter from attorneys representing
NRA        375       Membership Marketing Partners



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Exhibit    Exhibit
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                                   g                y              Offered   Objection   Admitted
                     representing Membership Marketing
NRA        376       Partners

NRA        377       Form Letter to Vendors re Invoice Support
                     Email attaching Vendor Compliance
NRA        378       documents

NRA        379       Form Letter to Vendors re Invoice Support
                     Email attaching Vendor Compliance
NRA        380       documents

NRA        381       Form Letter to Vendors re Invoice Support

NRA        382       List of vendors with contracts over $50,000
                     Email attaching Vendor Compliance
NRA        383       documents
                     Letter from attorneys representing Concord
NRA        384       Social and Public Relations
                     Letter from attorneys representing
NRA        385       Membership Marketing Partners
                     Letter from attorneys representing
NRA        386       Allegiance Creative Group
                     Email attaching letter from attorneys
NRA        387       representing Allegiance
                                    g          Creative Group
                                                         y
                     representing Concord Social and Public
NRA        388       Relations      g                    y
                     representing Membership Marketing
NRA        389       Partners
                     Letter from attorneys representing Concord
NRA        390       Social and Public
                                    g Relations          y
                     representing Concord Social and Public
NRA        391       Relations
                     Letter from attorneys representing
NRA        392       Membership Marketing Partners
                     Letter from attorneys representing
NRA        393       Allegiance Creative
                                    g     Group          y
                     representing Membership Marketing
NRA        394       Partners
                     Email attaching letter from attorneys
NRA        395       representing Allegiance Creative Group

NRA        396       Form Letter to Vendors re Invoice Support

NRA        397       Form Letter to Vendors re Invoice Support



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NRA        398       Form Letter to Vendors re Invoice Support

NRA        399       Form Letter to Vendors re Invoice Support
                     Email attaching Vendor Compliance
NRA        400       documents

NRA        401       Form Letter to Vendors re Invoice Support

NRA        402       Form Letter to Vendors re Invoice Support
                     Email attaching Vendor Compliance
NRA        403       documents

NRA        404       Form Letter to Vendors re Invoice Support

NRA        405       Form Letter to Vendors re Invoice Support

NRA        406       List of vendors with contracts over $50,000
                     Email attaching Vendor Compliance
NRA        407       documents

NRA        408       Letter to Vendor re Invoice Support
                     Email from Vendor re Compliance
NRA        409       questions

NRA        410       Form Letter to Vendors re Invoice Support
                     Email attaching Vendor Compliance
NRA        411       documents

NRA        412       Letter to Vendor re Invoice Support

NRA        413       Email re Vendor Compliance documents

NRA        414       Form Letter to Vendors re Invoice Support
                     Email attaching Vendor Compliance
NRA        415       documents

NRA        416       Form Letter to Vendors re Invoice Support
                     Miscellaneous blank htm family attachment
NRA        417       email re vendor letters
                     Email attaching Vendor Compliance
NRA        418       documents

NRA        419       Form Letter to Vendors re Invoice Support
                     Miscellaneous blank htm family attachment
NRA        420       email re vendor letters


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Exhibit    Exhibit
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                     Email attaching Vendor Compliance
NRA        421       documents

NRA        422       Form Letter to Vendors re Invoice Support
                     Miscellaneous blank htm family attachment
NRA        423       email re vendor letters
                     Email attaching Vendor Compliance
NRA        424       documents

NRA        425       Form Letter to Vendors re Invoice Support
                     Miscellaneous blank htm family attachment
NRA        426       email re vendor letters
                     Email attaching Vendor Compliance
NRA        427       documents

NRA        428       Form Letter to Vendors re Invoice Support

NRA        429       Form Letter to Vendors re Invoice Support
                     Email attaching Vendor Compliance
NRA        430       documents

NRA        431       Form Letter to Vendors re Invoice Support

NRA        432       Form Letter to Vendors re Invoice Support

NRA        433       Form Letter to Vendors re Invoice Support

NRA        434       Form Letter to Vendors re Invoice Support

NRA        435       List of vendors with contracts over $50,000

NRA        436       List of vendors with contracts over $50,000

NRA        437       List of vendors with contracts over $50,000
                     Email attaching Vendor Compliance
NRA        438       documents
                     Email attaching Vendor Compliance
NRA        439       documents

NRA        440       Form Letter to Vendors re Invoice Support
                     Email attaching Vendor Compliance
NRA        441       documents

NRA        442       Form Letter to Vendors re Invoice Support



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Exhibit    Exhibit
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                     Email attaching Vendor Compliance
NRA        443       documents

NRA        444       Form Letter to Vendors re Invoice Support
                     Email attaching Vendor Compliance
NRA        445       documents

NRA        446       Form Letter to Vendors re Invoice Support

NRA        447       Form Letter to Vendors re Invoice Support

NRA        448       Form Letter to Vendors re Invoice Support

NRA        449       List of vendors with contracts over $50,000
                     Email attaching Vendor Compliance
NRA        450       documents

NRA        451       Form Letter to Vendors re Invoice Support

NRA        452       Form Letter to Vendors re Invoice Support

NRA        453       List of vendors with contracts over $50,000

NRA        454       Form Letter to Vendors re Invoice Support
                     Email attaching Vendor Compliance
NRA        455       documents

NRA        456       Form Letter to Vendors re Invoice Support

NRA        457       Form Letter to Vendors re Invoice Support

NRA        458       Form Letter to Vendors re Invoice Support

NRA        459       List of vendors with contracts over $50,000
                     Email attaching Vendor Compliance
NRA        460       documents

NRA        461       Form Letter to Vendors re Invoice Support
                     List of vendors who received compliance
NRA        462       letters
                     Email attaching Vendor Compliance
NRA        463       documents

NRA        464       Garda Ward Independent security study



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NRA        465       MH Coggins Air Travel Threat Assessment

NRA        466       TBK Straegies security study  y
                     Primary Candidates-
NRA        467       https://www.youtube.com/watch?v=6n2_L

NRA        468       Budget Comparison 2014-2019

NRA        469       Rowling-Improvement Internal Control
                     NRA Request for Proposal - residential
NRA        470       security

NRA        471       4 bids for residential security email

NRA        472       ASPIS - NRA proposal 2020

NRA        473       CPG - proposal.
                     Garda - NRA ResSecurity GWFS Cost
NRA        474       Model
                     Garda - NRA Residential Security
NRA        475       Technical Proposal

NRA        476       Brosnan - NRA Security Proposal
                     2019 CPG, LLC - Armed Security Guard
NRA        477       Services Agreement and BCA
                     2020 CPG, LLC - Armed Security Guard
NRA        478       Services Agreement and BCA
                     2019 Gift Detail and Summary Report
                     Current WLF Members Giving 2019 as of
NRA        479       2021-04-02

                     2020 Gift Detail and Summary Report
NRA        480       Current WLF Members Giving 2020
                     2021 Gift Detail and Summary Report
                     Current WLF Members Giving 2021 as of
NRA        481       2021-04-02

NRA        482       2015.06.05 NRA Policy Manual

NRA        483       2015.09.12 NRA Bylaws

NRA        484       2016.01.09 NRA Bylaws

NRA        485       2016.04.26 NRA Policy Manual

NRA        486       2016.05.23 NRA Bylaws


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NRA        487       2016.12.14 NRA Employee Handbook

NRA        488       NRA Policy Manual

NRA        489       2017.04.29 NRA Bylaws

NRA        490       2017.07.14 NRA Policy Manual

NRA        491       2017.08.09 NRA Policy Manual

NRA        492       2017.11.16 NRA Policy Manual

NRA        493       2018.03.28 NRA Policy Manual

NRA        494       2018.07.27 NRA Employee Handbook

NRA        495       2019.04.29 NRA Bylaws

NRA        496       2019.06.05 NRA Policy Manual

NRA        497       2019.07.01 NRA Employee Handbook

NRA        498       2019.09.01 NRA Employee Handbook

NRA        499       2019.09.14 NRA Bylaws

NRA        500       2019.10.01 NRA Employee Handbook

NRA        501       2020.01 NRA Employee Handbook

NRA        502       2020.10.24 NRA Bylaws

NRA        503       2016_Statement of Cash Receipts.pdf

NRA        504       2017_Statement of Cash Receipts.pdf

NRA        505       2018_Statement of Cash Receipts.pdf

NRA        506       2019_Statement of Cash Receipts.pdf

NRA        507       2021_Statement of Cash Receipts.pdf
                     GP Fundraisers Cost to Revenue Generated
NRA        508       as of December 2016.xlsx




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                     GP Fundraisers Cost to Revenue Generated
NRA        509       as of December 2018.xlsx
                     GP Fundraisers Cost to Revenue Generated
NRA        510       as of December 2019.xlsx
                     GP Fundraisers Cost to Revenue Generated
NRA        511       thru October 2017.xlsx
                     NRA Fundraising Analysis 2017-2021B
NRA        512       (Draft).pdf
NRA        513       OOA Fundraisers, 11.2018.xlsx
NRA        514       OOA Fundraisers, 2016 (partial_.xlsx
NRA        515       OOA Fundraisers, 2017.xlsx

NRA        516       OOA Fundraisers, 2019.xlsx
                     Performance Report 2018 1231 ao
NRA        517       011119.pdf

NRA        518       Performance Report 2019 1201-1231c.pdf

NRA        519       Invoice - Cover Sheet (BAC)
NRA        520       NRA 990 Form

NRA        521       NRAF 990 Form
                     Top Ten List (List of Top Concerns for the
NRA        522       Audit Committee)

NRA        523       Compensation Study - Longnecker

NRA        524       David Jones Compensation Study

NRA        525       Organization Chart
                     Morgan Lewis letter of engagement re tax
NRA        526       and nonprofit governance for NRA
                     Employment Agreement between NRA &
NRA        527       Wayne LaPierre

NRA        528       Sea Girt Petition

NRA        529       NRA Petition

NRA        530       Sea Girt Schedules and SOFA

NRA        531       Sea Girt Schedules and SOFA




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NRA        532       Sea Girt Schedules and SOFA

NRA        533       Sea Girt Schedules and SOFA

NRA        534       NRA Schedules and Statements

NRA        535       NRA Schedules and Statements

NRA        536       NRA Schedules and Statements

NRA        537       NRA Schedules and Statements

NRA        538       NRA Schedules and Statements

NRA        539       NRA Schedules and Statements

NRA        540       NRA Schedules and Statements

NRA        541       NRA Schedules and Statements

NRA        542       Sea Girt MORS

NRA        543       Sea Girt MORS

NRA        544       NRA MORs

NRA        545       NRA MORs

NRA        546       NRA MORs

NRA        547       MMP Contract with NRA

NRA        548       MMP Desciption fo Services

NRA        549       Powell Termination Letter

NRA        550       Powell Reimbursement Demand
                     NATIVE of NRA Letter to Mark
                     MacDougall re Joshua Powell's Expense
NRA        551       Reimbursement review
                     Email from J. Frazer to Mark MacDougall
NRA        552       re Josh Powell's check for $40,760.20

NRA        553       2020 Budget


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NRA        554       NRATV Monetization Report


NRA        555       NRATV NOIR Metrics 2017.pdf
                     NRATV Q1 Analytics and Valuation
NRA        556       2018.pdf


NRA        557       NRATV Video Analytics Dashboard .pdf

                     NRATV, Analytics Discussion, no metrics
NRA        558       (2277001_00008102).pdf

                     NRATV, Clenched Fist of Truth, Aug 2017
NRA        559       (2277001_00008103).pdf

                     NRATV, Crafting & Owning A Narrative,
NRA        560       no metrics (2277001_00008084).pdf
                     NRATV, Jan 1 - Apr 7 2019 -
NRA        561       2277001_00008001.pdf

                     NRATV, Oct 17 2016 - Aug 31 17
NRA        562       (2277001_00008039).pdf

                     NRATV, Q1 2019
NRA        563       (2277001_00039891).pdf
                     NRATV, Q3 2018
NRA        564       (2277001_00008008).pdf
                     NRATV, Q3'17 and '18 Monetization
NRA        565       Roadmap (2277001_00008015).pdf
                     PIP, business case rationale presentation,
                     Sept 16 -- production volume 2
NRA        566       (2277001_00007998).pdf

NRA        567       09_TOPIC 11 - 2018-19 budget.pdf
                     12_TOPIC 13 - 2017.04.13_CCI Media
NRA        568       Invoice (750k).pdf
                     13_TOPIC 13 - 2017.04.20_M.
                     Montgomery - budget confusion re CCI
NRA        569       Media Invoice (750k).pdf

NRA        570       25_2017 Budget Documents.pdf
                     2012.08.08_Correspondence regarding
NRA        571       AMc project, American Warrior




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NRA        572       2019 Budget.v2

NRA        573       NRA v. Oliver North- NY County

NRA        574       NRA v. Dycio

NRA        575       Under Wild Skies v. NRA
                     Christopher Cox v. NRA- NRA Amended
NRA        576       Counterclaim

NRA        577       NRA v. Oliver North- Albany County
                     07_TOPIC 10 - 2019.01.04_Letter from Jay
NRA        578       Madrid to Steve Hart (FMV).pdf
                     14_TOPIC 13 - 2018.08.08_Letter from W.
                     Phillips to B. Winkler regarding support
NRA        579       documentation.pdf
                     15_TOPIC 13 - 2018.08.29_Letter from W.
                     Phillips to B. Winkler support
NRA        580       documentation follow up.pdf
                     16_TOPIC 13 - 2018.10.04_Letter from W.
                     Phillips to B. Winkler third follow up for
NRA        581       documentation support.pdf
                     17_Topic 13 - AMc Correspondence,
NRA        582       Stephen Ryan to B. Brewer, 08.22.18.pdf
                     06. 2019 Budget_NRAF,
NRA        583       2277001_11047061.xlsx

NRA        584       2018 Salary Credits Listing - ME1.xlsm
                     2018 Salary Credits Listing - new
NRA        585       (ME2).xlsm
                     2018_800k schedule of remibursable
NRA        586       expenses paid by NRAF to NRA .xlsx

NRA        587       Winkler letter to Schropp

NRA        588       2019 Budget Executive Summary

                     Winkler letter to LaPierre re Expense
NRA        589       Reimbursement


NRA        590       Winkler letter to Spray



NRA        591       Winkler letter to LaPierre re Clothing


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NRA        592       Frazer letter to Ryan

                     04. 2019.09.13_Corres re grant distribution
NRA        593       to NRA, NYAG-00011011.pdf
                     05. 2018_Grant allocation worksheet,
NRA        594       NYAG-00011022.pdf
                     Memorandum - Grant Allocation
NRA        595       Process.docx

NRA        596       2021 Grant Funds
                     12. 2017.10_NRAF IC Minutes, NYAG-
NRA        597       00010738.pdf
                     13. 2017.11.07_NRAF Resolution - 5M
NRA        598       loan, NYAG-00010735.pdf
                     14. 2017.10_Email regarding NRAF loan to
NRA        599       NRA .pdf
                     15. 2018.01.25_Email Correspondence
                     with Investment Committee regarding
NRA        600       amendment, NYAG-00010743.pdf
                     16. 2018.01_Loan Amendment, NYAG-
NRA        601       00010736.pdf
                     17. 2018.06.28_New 5M loan, NYAG-
NRA        602       00010746.pdf
                     18. 2018.09.17_Board amends loan terms
NRA        603       for Access Bank, NYAG-00010768.pdf
                     19. 2020.01.09_Loan extension by 3 mos,
NRA        604       NYAG-00010755.pdf

NRA        605       02. NRAF Articles of Incorporation.pdf

NRA        606       03. NRAF Bylaws.pdf

NRA        607       Lydia Longoria TimeSheet

NRA        608       Patrick McCarty TimeSheet

NRA        609       Grant Seoane TimeSheet

NRA        610       Christopher Strong TimeSheet

NRA        611       Praxx Gray TimeSheet

NRA        612       Brandon Harn TimeSheet

NRA        613       Justin Charles TimeSheet


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NRA        614       Scott Chidester TimeSheet

NRA        615       Brad Nash TimeSheet

NRA        616       Bill Floyd TimeSheet

NRA        617       Edward Bailey TimeSheet

NRA        618       Meg McElhaney TimeSheet

NRA        619       Cristian Rivera TimeSheet

NRA        620       Bill Powers TimeSheet

NRA        621       Eric Van Horn TimeSheet

NRA        622       Guy Mitchell TimeSheet

NRA        623       John Popp TimeSheet

NRA        624       Rachel Bonilla TimeSheet

NRA        625       Time Herr TimeSheet

NRA        626       Abygail Thompson TimeSheet

NRA        627       Amy Hearn TimeSheet

NRA        628       Andrew Butler TimeSheet

NRA        629       Blake McCarty TimeSheet

NRA        630       Brent Whitsett TimeSheet

NRA        631       Bruce Parks TimeSheet

NRA        632       Caile Turner TimeSheet

NRA        633       Chester Campbell TimeSheet

NRA        634       David Casteel TimeSheet

NRA        635       Denise Sinisi TimeSheet



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NRA        636       Ed Russell TimeSheet

NRA        637       Hannah Foster TimeSheet

NRA        638       Jeanne Oden TimeSheet

NRA        639       Jesse Davison TimeSheet

NRA        640       Joe Busch TimeSheet

NRA        641       Joshua McNear TimeSheet

NRA        642       Kale Atterberry TimeSheet

NRA        643       Katie Ellis TimeSheet

NRA        644       Kelsey Gosdin TimeSheet

NRA        645       Lael Erickson TimeSheet

NRA        646       Lisa Lavelle TimeSheet

NRA        647       Matthew Patterson TimeSheet

NRA        648       Michael Aitken TimeSheet

NRA        649       Mike Galloway TimeSheet

NRA        650       Monique Warfield TimeSheet

NRA        651       Preston Darley TimeSheet

NRA        652       Revan McQueen TimeSheet

NRA        653       Ryan Lacy TimeSheet

NRA        654       Ryan Winkler-Herr TimeSheet

NRA        655       Sherri Duran TimeSheet

NRA        656       Shephen Campbell TimeSheet

NRA        657       Stephen Wymer TimeSheet



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NRA        658       Syed Naqb TimeSheet

NRA        659       Tony Makris TimeSheet

NRA        660       Tyler Petersen TimeSheet

NRA        661       Financial Disclosure Questionnaire - WLP
                     CASH FOR NRA & AFFILIATED
                     ORGANIZATIONS FROM
                     ADVANCEMENT AND FONRA
NRA        662       ACTIVITY, 12.31.20
                     USDC NDNY, NRA v. Cuomo, et al,
                     Case No. 1:18-CV-0566 – Second
                     Amended Complaint, Dkt No. 203, 203-
NRA        663       1, 203-2

                     USDC NDNY, NRA v. Cuomo, et al,
                     Case No. 1:18-CV-0566 – Brief of
                     Amicus Curie American Civil Liberties
                     Union in Support of the Plaintiff’s
                     Opposition to the Defendants’ Motion
NRA        664       to Dismiss , Dkt No. 49-1
                     USDC ND NY, NRA v. Cuomo, et al
                     Case No. 1:18-CV-0566 – Decision
NRA        665       and Order, Dkt No. 233
                     Virginia Circuit Court, Plaintiff’s
                     Consolidated and Supplemental
                     Amended Complaint to Conform with
                     Evidentiary Proof , CL19001757,
NRA        666       CL19002067, CL19002886
                     USDC ND Tex, NRA v. Ackerman
                     McQueen , Case No. 3:19-cv-02074-G –
                     Plaintiff’s Second Amended Complaint,
NRA        667       Dkt No. 209
NRA        668       NRA Revenue By Campaign 2016 - 2020

NRA        669       June 25, 2019 NRA letter to Ackerman

NRA        670       1991 NRA Audited Financial Statements
                     2019 Audited Financial Statements – NRA
NRA        671       and Affiliates



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                     2019 Audited Financial Statements – NRA
NRA        672       Only
                     November 2020 Monthly Financial
NRA        673       Package – NRA Only
                     November 24, 20202 Email from Craig
                     Spray regarding 2020 Amended Return
NRA        674       4720_
                     New York Attorney General's livestream
NRA        675       video regarding filing suit against the NRA
                     8/19/20 USA Today Article "NY AG
                     Letitia James called the NRA a 'terrorist
NRA        676       organization.' Will it hurt her case?"

NRA        677       NYAG Preservation Notice
                     NRA and WLP Salary Reduction
NRA        678       Agreement
                     August 7, 2020, 1:23 p.m. NY AG James
NRA        679       Tweet_
                      January 15, 2021, 1:52p.m. NY AG James
NRA        680       Tweet_
                     November 25, 2020 CNN - NRA says its
                     aware of significant diversion of its assets
NRA        681       in tax filing
                     December 22, 2020 The Wall Street
                     Journal - Sixteen GOP Attorneys General
NRA        682       Back NRA in Federal Lawsuit
                     1999 Ackerman McQueen Services
NRA        683       Agreement

NRA        684       Ackerman McQueen T&E Expense Policy

                     4/12/2019 Virginia Civil Case No.
NRA        685       CL19001757 NRA v. Ackerman McQueen

NRA        686       1997 Mercury Group Services Agreement




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